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                      EXHIBIT 5
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                                              Revenues by Month for Denver Metro Audits channel
                                                  (invoicing_transactions_625811375454.csv)
Google records for Denver Metro Audits YouTube channel earnings (previously produced on March 9, 2023)
Date                            Description                                                              Amount Currency
Jun 1, 2022 ‐ Jun 30, 2022      Earnings ‐ YouTube                                                       ‐2,072.63 USD
Jul 1, 2022 ‐ Jul 31, 2022      Earnings ‐ YouTube                                                       ‐2,109.17 USD
Aug 1, 2022 ‐ Aug 31, 2022      Earnings ‐ YouTube                                                       ‐2,718.78 USD
Sep 1, 2022 ‐ Sep 30, 2022      Earnings ‐ YouTube                                                       ‐1,630.23 USD
Oct 1, 2022 ‐ Oct 31, 2022      Earnings ‐ YouTube                                                       ‐1,874.04 USD
Nov 1, 2022 ‐ Nov 30, 2022      Earnings ‐ YouTube                                                       ‐2,133.99 USD
Dec 1, 2022 ‐ Dec 31, 2022      Earnings ‐ YouTube                                                       ‐3,223.69 USD
